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                                                    UNITED STATES DISTRICT COURT                                                            i         ~     l       IE
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                                                                               District of                                                  •
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                                                                                   Division                                                            RICHMOND, VA


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                                                        COMPLAINT FOR A CIVIL CASE

        L          The Parties to This Complaint
                  A.      The Plaintifl(s)

                            Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                            needed.
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                                    Name                                                               0cl11NS
                                    Street Address                                        './,1/.,l. , "al'~ Ad 'lt/23
                                    City and County                        lt'I ,dJn-/,) uAn J ~J ,.ti hr./i'1J,,J
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                                    E-mail Address                           ll'lJnt1n1ii!. c•~"--~a:- .... wJ.r.LJtt1
                  B.          The Defendant(s)

                            Provide the information below for each defendant named in the complaint, whether the defendant is an
                            individual, a government ascncy, an organization, or a corporation. For an individual defendant,
                                    include the person's job or title (ifl:nown). At1ach additional PBRCS if needed.
                            Defendant No. I
                                    Name                                        I   ,,,.,,.,1~ r.    IA1/f~ol'\I
                                    Job or Title (I/brown)
                                    Street Address
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                                    City and Co1mty                                J ~iCJ&,rUJJtl)(.
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                                    Telephone Number                                 n
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                                    E-mail Address (I/brawn)                   c,      ;., sol1/U'.1 /J r Jt tS.Ji-:~~ ,-1. "'6'ti
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                            Defendant No. 2
                                   Name
                                   Job or Title (I/known)
                                   Street Address
                                   City and Countv
                                   State and Zip Code
                                   Telephone Number
                                   E-mail Address (ffbrownJ

                            Defendant No. 3
                                   Name
                                   Job or Title (I/known)
                                   Street Address
                                   City and Cowity
                                   State and Zip Code
                                   Telephone Number
                                   E-mail Address (fflnDwnJ

                            Defendant No. 4
                                   Name
                                   Job or Title (I/known)
                                   Street Address
                                   City and County
                                   State and Zip Code
                                   Telephone Number
                                   E-mail Address (I/brown)

         u.            Basis for Jurisdiction

                  Fcderal courts are courts of limited jurisdiction Oimited power). Generally, only two types of cases can be
                  heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
                  parties. Under 28 U.S.C. § 1331, a case arising 1mder the United S1ates Constitution or federal laws or treaties
                  is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
                  another State or nation and the amount at stake is more than $7S,000 is a diversity of citi7.enship case. In a
                  diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

                  What is the basis for federal court juri5dielion? (dud all tho, apply)
                                   I             lFedaal..,, .                  Diversity of citizenship
                                                      / '


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                 Fill out the paragraphs in this section that apply to this case.

                 A.            Ifthe Basis for Jurisdiction Is a Federal Question

                          List the specific federal sta1Utes, federal beaties, and/or provisions of the United States Constitution that
                          arc at issue in this case.

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                                                                                          gs-s-9
                 B.            If the Basis for Jurisdiction lsDiverslty of Citizenship

                          1.             The Plaintillts)

                                    a.           If the plaintiff' is an individual
                                               The olaintift fnanu,)                 I                                 I, is a citizen of the
                                               State of (ntDtlll)                I                             1.
                                    b.           If the plaintiff is a corporation
                                               The plaintiff; fnam•)            I                                      I, is incorporated
                                               wider the laws of the State of (name)          I                                .
                                               and has its principal place of business in the State of (nam•)
                                                                    I                                     I•

                                    (Ifmore than one plaintiffis named in the complain/, attach an additional page providing the
                                    same information for each additional plaintiff.)

                          2.             The Defendant(s)

                                    a.           If the defendant is an individual
                                               The defendant, (lltllM)           I                                     I, is a citizen of
                                               the State of (nam11)            I                                    I. Or is a citizen of
                                                (faraign n«llon)             I
                                    b.            If the defendant is a corporation
                                               The defendant, (IIQflUI)            I                                I, is inc:mporated under
                                               the laws of the State of (11111t1•)   I                                     I, and bas its
                                               prlncinal place of business in the State of r-J
                                               Or is incorporated mider the laws of{foreign nattan)                            •
                                               and has its Drincioal place of business in (nanu,J

                                    (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                                    same information for each additional defendant.)

                          3.             The Amount in Conlrovcrsy

                                    The amount in conlroversy-the amount the plaintiff claims the defendant owes or the amount at
                                    stake-is more than $7S,000, not counting interest and costs of court, because (ap/ain):




         m.           Statement of Claim

                 Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
                 facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
                 involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including

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                   the dates and places of that involvement or conduct If more than one claim is asserted, nmnber each claim and
                   write a short and plain statement of each claim in a separa!e      b. Attach additional pages if needed.
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                   State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
                   aJBIDDCDts. Include any basis for claiming that the wrongs alleged arc continuing at the present time. Include
                   the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
                   punitive or exemplary damages claimed, the amounts, and the reasons you claim you arc entided to actual or
                   punitive money damaaes.
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                   Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
                                                                                                                                            ,et,     Vl/JINt,C..•




                   and belief that this complaint: (I) is not being presented for an improper purpose. such as to harass, cause
                   1mnece,sary delay, or needlessly increase the cost oflitigatioo; (2) is supported by existing law or by a
                           nonfiivolous argument for extending, modifying, or reversing existing law; (3) the fac:tual contentions
         have           evidentiary support or, if specifically so identified, will likely have evidcntiary support after a reasonable
                   opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
                           requirements of Rule 11.

                   A.            For Parties Without an Attorney

                            I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                            served I understand that my failure to keep a current address on me with the Clerk's Office may result
                            in the dismissal of my case.

                            Date of signing:                              I            I 111:,hl~hl<i
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                                                                                ' ,~i.lf'f--
                            Signature of Plaintiff'                           1                L\- -nA
                            Printed Name of Plaintiff                          ~l\\\(,n~ r\_AII\~(
                                                                                  -
                   B.            For Attorneys

                            Date of siimina:                              I            I
                            Signature of Attorney
                            Printed Name of Attorney
                            BarNumbcr
                            Name of Law Firm
                            Street Address
                            State and Zip Code
                            Teleobone Number
                            E·mail Address




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